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       EXHIBIT 15
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                                          SENT VIA Email:
                                    foiapaquestions@uscis.dhs.gov


    April 5, 2023

    RE: COW2023001566

          Dear FOIA Officer,

          I write to supplement the record in support of my request for expedited processing for
    my FOIA Request COW2023001566 (“Request”).

           Appendix B contains a number of news reports and articles reporting on U.S.
    Citizenship and Immigration Services (“USCIS”) denials of entry to the United States based
    on admissions of drug use or other similar conduct. Many of these articles question whether
    USCIS is consistently and fairly discharging the law in this area. 1

            Appendix C contains a number of articles that specifically cover the issue of HRH the
    Duke of Sussex KCVO’s drug use and its interaction with HRH ability to lawfully enter and
    remain in the United States. Many of these articles question the role of USCIS in this process
    and thus raise “possible questions about the government’s integrity that affect public
    confidence” in that they suggest there was some impropriety in HRH’s admission to the
    United States. 28 C.F.R. § 16.5(e)(1)(4). Many of these articles specifically comment on the
    Request and the “possible questions about the government’s integrity that affect public
    confidence” it surfaces via asking questions about HRH’s long and admitted history of drug
    use and admission to the United States. They thus clearly demonstrate on-going and intense
    public interest in “possible questions about the government’s integrity that affect public
    confidence” surfaced by the Request. 2

            Appendix D is an Amazon Kindle redemption code to allow USCIS to obtain a copy
    of HRH’s book Spare and formally enter that entire book into the record. Please accept your
    prepaid eBook using the link below:
    https://www.amazon.com/kindle/redeem/?t=GSWGX623ACKRBGJ




1
    http://thf_media.s3.amazonaws.com/2023/Oversite_Project/PrinceHarry_Appendix_B-C.pdf
2
    http://thf_media.s3.amazonaws.com/2023/Oversite_Project/PrinceHarry_Appendix_B-C.pdf




                                                   1
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If you have any questions, or feel you need clarification of this request please contact me at
oversightproject@heritage.org.

                                                      Sincerely,

                                                      Mike Howell
                                                      Oversight Project Director
                                                      & Investigative Reporter at The Daily Signal
                                                      The Heritage Foundation
                                                      214 Massachusetts Ave, NE
                                                      Washington, D.C. 20002




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